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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF VIRGINIA
                            (Norfolk Division)


UNITED STATES OF AMERICA



v.                                           CRIMINAL NO. 2:14cr88-002



SHEILA CLARK LEWIS


            DEFENDANT’S OBJECTIONS TO PRE-SENTENCE REPORT

      In accordance with § 6A1.2 of the Sentencing Guidelines and

Policy Statements and this Court’s policy regarding sentencing

guidelines, the defendant represents that she has reviewed the

Probation Officer’s Pre-sentence Investigation Report prepared

in this matter, and hereby gives notice that she does dispute

the following factors:

Paragraph 26 – Base Offense Level

      The defendant objects to the application of a two-level

increase under U.S.S.G. §2B1.1(b)(2)(A)(i), because the offense

involved 5 victims, not more than 10 victims.                  The Pre-sentence

Investigation        Report    states    there     were   initially      27     patient

victims.       These     victims,       however,     have    been        made     whole

financially by Citigroup, Kohl’s, Ntelos, JC Penney, and AT&T,

the   latter    of     which   who   have   been    identified      as   the    actual

victims in this case.
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      Application Note 1, definitions for the purposes of this

guideline, states in pertinent part, a "[v]ictim" means (A) any

person who sustained any part of the actual loss determined

under subsection (b)(1) . . .”           Application Note 2.

      Thus,        the   application    of     a    two-level      increase         under

U.S.S.G. §2B1.1(b)(2)(A)(i) is inapplicable.

Paragraph 28 – Victim Related Adjustment

      The defendant objects to the two-point enhancement under

U.S.S.G. § 3A1.1(b)(1) because it cannot be established beyond a

reasonable doubt the “defendant knew or should have known that a

victim of the offense was a vulnerable victim.”

      The      defendant’s        co-defendant,         Shavika        V.     Thompson

(2:14cr88-001), without the defendant’s prior or contemporaneous

knowledge     or     assistance,     gained    access      to   and    obtained       the

personally identifiable information of at least 200 individuals

from medical patient lists from her employer. The information in

these lists included names, social security numbers, and dates

of birth. The lists did not contained any specific information

relating    to      a    patient’s   unusual       vulnerability       due    to     age,

physical      or     mental   condition,      or    any    specific         information

relating    to      an   otherwise   particularly         susceptibility        to    the

criminal    conduct.       (See   Paragraph    9,    Section      3.   of     the    Pre-

sentence Investigation Report).




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       U.S.S.G. § 3A1.1(b)(1) states that under subsection (b) a

"vulnerable victim" means a person (A) who is a victim of the

offense of conviction and any conduct for which the defendant is

accountable     under   §1B1.3     (Relevant         Conduct);   and       (B)     who   is

unusually vulnerable due to age, physical or mental condition,

or who is otherwise particularly susceptible to the criminal

conduct. (Emphasis Supplied). Application Note 2.

       Also, albeit there were at least 27 identified personal

victims    in   this    case,    their    accounts       have    been       made    whole

financially by Citigroup, Kohl’s, Ntelos, JC Penney, and AT&T,

the    latter   of   which   who   have       been   identified       as    the    actual

victims in this case.        Thus, aside from the use of the patient’s

personal information, the patients suffered no financial loss.

       For the foregoing reasons, the defendant prays this Court

make      the   appropriate        adjustments          to      her        Pre-sentence

Investigation Report.

                                SHEILA CLARK LEWIS


                                By:__/s/ Harry Dennis Harmon, Jr._______
                                                Of Counsel

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                         CERTIFICATE OF SERVICE

     I hereby certify that on the 13th day of November 2014, I
will electronically file the foregoing document with the Clerk
of Court using CM/ECF system, which will then send a
notification of such filing (NEF) to the following:

Randy C. Stoker
Assistant U.S. Attorney
United States Attorney’s Office
101 West Main Street, Suite 8000
Norfolk, Virginia 23510
Telephone No: (757) 441-6331
Facsimile No: (757) 441-6689
E-Mail: randy.stoker@usdoj.gov

     I hereby further certify that on the 14th day of November
2014, I hand delivered a true copy of the foregoing Defendant’s
Objections to Pre-Sentence Report to the following non-filing
user to:

Leah D. Greathouse
U.S. Probation Officer
United States Probation Office
600 Granby Street, Suite 230
Norfolk, Virginia 23510
Telephone No: (757) 222-7411



                              _/s/ Harry Dennis Harmon, Jr.____ ____
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